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                                                                                  FILED
                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS                     SEP 222022
                                    AUSTIN DIVISION
                                                                            C1ERK. U.S      J   LER
                                                                            WESTERN
FLAVIO MILAM,                                 §
                       PLAINTIFF,             §
                                              §     CAUSE NO. 1:21 -CV- 11 9-LY
V.                                            §
                                              §
MRS BPO, LLC,                                 §
                       DEFENDANT.             §


                                    ORDER CLOSING CASE

       Before the court is the above entitled cause. On September 21, 2022, the parties filed an

Agreed Stipulation of Dismissal with Prejudice pursuant to Federal Rule of Civil Procedure

41 (a)( 1 )(A)(ii) (Doc. #15). Accordingly,

       IT IS HEREBY ORDERED that the case is CLOSED.

        SIGNED this                  day of September, 2022.




                                              UNITED STATES DISTRICT JUDGE
